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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


UNITED STATES OF AMERICA


vs.                                                   2:06-cr-4-FtM-99SPC


JIMMY LOUISUIS

_____________________________


                              OPINION AND ORDER

      This   matter   comes    before   the   Court   on   the   Report   and

Recommendation (Doc. #84) filed by United States Magistrate Judge

Sheri Polster Chappell.       The Report and Recommendation recommended

that Defendant’s Motion to Suppress Evidence (Doc. #57) be denied.

Both defendant and the United States filed Objections to the Report

and Recommendation.      (Docs. #85, 86.)      The undersigned re-opened

the suppression hearing as to the issue of defendant’s “standing,”

and heard testimony from defendant and argument of counsel on

August 1, 2006.

      Defendant Jimmy Louisuis’ Motion to Suppress Evidence (Doc.

#57) asserts that the entry by law enforcement officers into the

premises at 2615 Andrew Drive, Naples, Florida was unlawful, and

therefore any evidence seized as a result must be suppressed.             The

officers entered the residence to arrest defendant Elex Pierre,

pursuant to two arrest warrants.         Once inside the residence, the

officers secured not only Elex Pierre but also Jimmy Louisuis. The
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motion asserts that the absence of a search warrant to enter the

house to look for Elex Pierre rendered the entry unlawful under

Payton v. New York, 445 U.S. 573 (1980) and its progeny.

                                     I.

      After conducting a careful and complete review of the findings

and recommendations, a district judge may accept, reject or modify

the magistrate judge’s report and recommendation.             28 U.S.C. §

636(b()1);    Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir.

1982), cert. denied, 459 U.S. 1112 (1983).        A district judge “shall

make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection

is made.”     28 U.S.C. § 636(b)(1)(C).          This requires that the

district judge “give fresh consideration to those issues to which

specific objection has been made by a party.”        Jeffrey S. by Ernest

S. v. State Bd. of Educ. of Ga., 896 F.2d 507, 512 (11th Cir.

1990)(quoting H.R. 1609, 94th Cong., § 2 (1976)).             The district

judge reviews legal conclusions de novo, even in the absence of an

objection.    See Cooper-Houston v. Southern Ry. Co., 37 F.3d 603,

604 (11th Cir. 1994).

                                     II.

      The government asserts that defendant lacks a reasonable

expectation of privacy as to 2615 Andrew Lane, and therefore cannot

challenge the entry and search of that location.         The government’s

objection    based   upon   the   magistrate   judge’s   failure   to   have


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evidence of standing, as opposed to allegations in a document filed

by counsel, has been rendered moot by the hearing held on August 1,

2006.

      At the re-opened suppression hearing, defendant testified that

his permanent residence was in Immokalee, Florida; that he slept at

2615 Andrew Drive on the nights of August 29 and August 30, 2005;

that he had been given permission from David Delli, who was renting

the house, to spend the nights in the house; that he had a key to

the house; that no one else was in the house those nights; that he

spent the nights there in order to meet with his Naples attorney on

August 29 regarding a payment plan and then meet with his attorney

and attend a court hearing on August 30; that he had spent the

night at the house from time to time on prior occasions, such as

when he needed to attend court or go to the labor pool; and that

some of his belongings and personal hygiene materials were left in

the house.   No evidence to the contrary was presented, although the

government questioned defendant’s general credibility.

      It is clear that “a defendant can urge the suppression of

evidence obtained in violation of the Fourth Amendment only if that

defendant    demonstrates    that   his    Fourth   Amendment   rights   were

violated by the challenged search or seizure.”            United States v.

Padilla, 508 U.S. 77, 81 (1993)(emphasis in original).            The Court

finds defendant’s testimony credible enough to establish that he

had a reasonable expectation of privacy in 2615 Andrew Drive on



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August 31, 2005, when entry was made by law enforcement officers.

Minnesota v. Olson, 495 U.S. 91, 98-99 (1990).

                                    III.

      The Report and Recommendation found the warrantless entry was

justified by the exigent circumstances exception to the warrant

requirement.    The government objects to the failure of the Report

and Recommendation to also uphold the warrantless entry on an

additional ground.     The government asserts that in addition to the

exigent    circumstances      exception,   entry   into      the   house   was

permissible because the law enforcement officers had a reasonable

belief that the house was the dwelling of Elex Pierre (Pierre) and

that Pierre was inside the dwelling at the time of the entry.

Since the officers had valid arrest warrants for Pierre, the

government contends their entry into the dwelling was lawful under

Payton v. New York, 445 U.S. 573 (1980) and its progeny.

      “As Payton makes plain, police officers need either a warrant

or probable cause plus exigent circumstances in order to make a

lawful entry into a home.” Kirk v. Louisiana, 536 U.S. 635, 638

(2002).1    “[F]or   Fourth    Amendment   purposes,    an    arrest warrant

founded on probable cause implicitly carries with it the limited

authority to enter a dwelling in which the suspect lives when there

is reason to believe the suspect is within.”           Payton, 445 U.S. at


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      Voluntary consent would also justify entry, Illinois v.
Rodriquez, 497 U.S. 177, 181 (1990), but the government does not
contend that consent applies in this case.
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603.        This requires a two-part showing: The government must show2

(1) a reasonable belief that the location to be searched is the

suspect’s dwelling, and (2) reason to believe that the suspect is

within the dwelling.             United States v. Bervaldi, 226 F.3d 1256,

1262-64 (11th Cir. 2000); United States v. Magluta, 44 F.3d 1530,

1533 (11th Cir. 1995), cert. denied, 516 U.S. 869 (1995).                            This

requires        an    evaluation    of    the    totality    of     the   facts      and

circumstances within the knowledge of the law enforcement agents,

with an appropriate dose of common sense.                   Bervaldi, 226 F.3d at

1263.

       The difficulty with the government’s argument is that the

evidence       is    undisputed    that   the    Andrews    Drive   house      was   not

Pierre’s dwelling at the time of the entry, and had not been

previously.          The testimony was that the house was owned by Lewis

Butterfield and rented to David Delli.                No matter how reasonable

the officers’ belief that it was Pierre’s dwelling and he was

inside, a search warrant was necessary to enter the house of a

third party.           Steagald v. United States, 451 U.S. 204 (1981);

O’Rourke v. Hayes, 378 F.3d 1201, 1209 (11th Cir. 2004).                               As

Steagald       noted,    “This    analysis      [Payton],   however,      is   plainly

inapplicable when the police seek to use an arrest warrant as legal

authority to enter the home of a third party to conduct a search.”



        2
      “The burden of proving an exception to the [search] warrant
requirement rests with the government.” United States v. McGough,
412 F.3d 1232, 1237 n.4 (11th Cir. 2005).
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Steagald, 451 U.S. at 214 n.7.          Accordingly, the entry into the

Andrews Drive house was not authorized under Payton.

                                      IV.

      The government’s final argument is that entry was justified by

the exigent circumstances exception to the warrant requirement.

The Report and Recommendation agreed with this argument, to which

defendant has filed objections.

      One of the exceptions to the warrant requirement under the

Fourth Amendment is where the exigencies of the situation make the

needs of law enforcement so compelling that the warrantless search

or seizure is objectively reasonable.                Brigham City, Utah v.

Stuart, 126 S. Ct. 1943, 1947 (2006).          A warrantless entry into a

house is permitted only where the government establishes that both

probable cause and exigent circumstances exist.            Kirk, 536 U.S. at

638 (citing Payton); see also United States v. Tobin, 923 F.2d

1506, 1510 (11th Cir. 1991)(en banc), cert. denied, 502 U.S. 907

(1991). “The exception encompasses several common situations where

resort to a magistrate for a search warrant is not feasible or

advisable,      including:   danger    of   flight    or   escape,    loss    or

destruction of evidence, risk of harm to the public or the police,

mobility   of    a   vehicle,   and   hot   pursuit.”      United    States   v.

Holloway, 290 F.3d 1331, 1334 (11th Cir. 2002)(citations omitted).

      The Court has read the transcript of the suppression hearing

before the magistrate judge and all papers filed by the parties.


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The Court adopts the Report and Recommendation with respect to the

exigent circumstances and probable cause analysis and factual

findings.    Accordingly, the Motion to Suppress Evidence is denied.

      Accordingly, it is now

      ORDERED:

      1. The Report and Recommendation (Doc. #84) is adopted in its

entirety, as supplemented herein.

      2.     The   objection    filed      by   the   government    concerning

defendant’s reasonable expectation of privacy is moot in light of

the evidentiary hearing of August 1, 2006; the objection filed by

the government concerning an alternative ground to uphold the entry

is moot in light of the undersigned’s consideration of this ground;

defendant’s objections as to the exigent circumstances exception

are overruled.

      3.    Defendant’s Motion to Suppress Evidence (Doc. #57) is

DENIED.

      DONE AND ORDERED at Fort Myers, Florida, this                2nd   day of

August, 2006.




Copies:
Magistrate Judge
Counsel of Record

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